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                               United States District Court
                               Northern District of Texas
                                     Dallas Division

 Bertrum Jean et al.,                          §
       Plaintiffs,                             §
                                               §
 v.                                            §      Civil Action No. 3:18-cv-02862-M
                                               §
 The City of Dallas, Texas and                 §
 Amber Guyger,                                 §
       Defendants.                             §

                        Appendix in Support of Defendant Amber
                          Guyger’s Motion to Stay This Action

       Defendant Amber Guyger (“Guyger”) submits this appendix containing the evidence

relied on by her in support of Defendant Amber Guyger’s Motion to Stay This Action Pending

Resolution of Her Criminal Case, and Brief in Support, filed concurrently with this appendix.

              Exhibit        Document                                          Pages

                 A           Affidavit of Mark E. Goldstucker                  1-2

               A-1           Indictment No.: F1800737                            3

                 B           Affidavit of Robert Rogers                        4-5

                                               Respectfully submitted,

                                               _ s/ Mark E. Goldstucker__________________
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                                   Certificate of Service

       On March 22, 2019, a copy of the foregoing document was served electronically

through the Court’s ECF system on all counsel of record.

                                               _ s/ Mark E. Goldstucker__________________
                                               Mark E. Goldstucker




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